                                UNITED STATES DISTRICT COURT
                                            for the
                             EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Tracy Lamont Collins                                                  Docket No. 5:10-CR-11-lD

                                Petition for Action on Supervised Release

COMES NOW Kyle W. Fricke, U.S. Probation Officer of the court, presenting a petition for modification
of the Judgment and Commitment Order of Tracy Lamont Collins, who, upon an earlier plea of guilty to
Distribution of 5 Grams or More of Cocaine Base (Crack), in violation of 21 U.S.C. § 841 (a)(I), was
sentenced by the Honorable James C. Dever III , U.S. District Judge, on December l 0, 20 I 0, to the custody
of the Bureau of Prisons for a term of 102 months. It was further ordered that upon release from
imprisonment the defendant be placed on supervised release for a period of 60 months.

        Collins was released from custody on June 3, 20 I 6, at which time the term of supervised release
commenced. On October 15 , 2018, a Violation Report was submitted advising that on October 6, 2018, in
Nash County, North Carolina, the defendant was charged with Driving While License Revoked and
Fictitious Registration (18CR707554). The court agreed to continue supervision. On September 10, 20 19,
a Petition for Action was submitted advising that the defendant was charged in Nash County, North
Carolina, with Driving While Impaired (19CR52749), Fleeing to Elude Arrest, Speeding, Driving W hile
License Revoked (l 9CR52750), Reckless Driving to Endanger, and Failure to Wear a Seatbe lt
( l 9CR5275 l ). Based upon the breach of trust presented by this criminal conduct, the defendant was ordered
to complete 60 days curfew with location monitoring.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On October 30, 2020, the defendant was charged in Nash County, North Carolina, w ith Driving Whi le
Impaired and Driving While License Revoked (20CR053382). According to Deputy Mooring with the Nash
County Sheriff's Department, he observed Co llins run into the back of a parked vehicle in the parking lot
of a convenience store. No injuries were sustained. The defendant admitted drinking whi le driving, and he
blew a . 19 on the breathalyzer. Although these charges remain pending, the defendant admits guilt. As a
sanction for this crimina l conduct, the probation office is recommending that he be placed on 180 days
home detention with electronic monitoring and enro ll and complete alcohol/drug education training. T he
defendant signed a Waiver of Hearing agreeing to the proposed modifications of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows :

    I. The defendant shall abide by all conditions and terms of the home detention program for a period
       not to exceed 180 consecutive days. The defendant shall be restricted to his residence at all times
       except for pre-approved and scheduled absences for employment, education, re ligious activities,
       treatment, attorney vis its, court appearances, court obligations or other activities as approved by the
       probation officer. The defendant shall submit to the fo llowing Location Monitoring: Rad io
       Frequency monitoring and abide by all program requirements, instructions and procedures provided
       by the supervising officer.

   2. The defendant shall enroll in and complete the Alcohol/Drug Education Training school and pay the
      cost thereof. It is further ordered that the defendant shal l participate in any other Alcohol/Drug
      Rehabilitation and Education program as directed by the U.S. Probation Office.

Except as herein modified, the judgment shall remain in full force and effect.

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Reviewed and approved,                              I declare under penalty of perjury that the foregoing
                                                    is true and correct.


Isl Dewayne L. Smith                                Isl Ky le W. Fricke
Dewayne L. Smith                                    Kyle W. Fricke
Supervising U.S. Probation Officer                  U.S. Probation Officer
                                                    150 Reade Circle
                                                    Greenville, NC 27858-1137
                                                    Phone:252-830-2336
                                                    Executed On: November 6, 2020

                                      ORDER OF THE COURT

Considered and ordered this       'j     day of   No\/Q. rvb AA           , 2020, and ordered filed and
made a part of the records in the above case.


Jamb C. Dever Ill
U.S. District Judge




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